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UNIInn STATES DISTRICT c`oU_RT F l LE D

 

F_OR THE I)ISTRICT oF coLUMBIA

_ NUV 6 - 2006

; - iIn'-Re`-`Fé`:de'ral National Mortgage ) `
_ z -`Associat_ion Securities, Derivative,_and ) MDL No. 1688 NANCV ii§§iiisii§ii:il§giigliGLERK

` “ERISA” Litigation )
' , )

"`-In re: Fannie Mae Securities )Consolidated Civil Action No. 04-1639

-'_`-Litigation ) (R.]L)

Q_R_EB

Upon consideration of the motions by parties, argument by counsel, and the entire record

` - `herein, it is this 46 day ofNovember, 2006 hereby

ORDERED that the Motions to Compel the Production of Documents of OFHEO filed
by defendant J. Timothy Howard [#195] and defendant Fran_l<lin Raines [#219] are GRANTED,
and it is further

ORDERED that the production on a rolling basis of all non~privileged, responsive

- documents by OFHEO Will proceed by four installments With productions due to defendants

‘Howard and Raines on December 12, 2006, January 12, 2007, February 12, 2007, and March 12,

' `2007, ana ii is maher

ORDERED that defendants Howard_and Raines Will submit a prioritized list of

. _ document requests one month in advance of each production deadline, with a copy submitted to

the Court and a copy submitted to OFHEO, With the first such list due November 13, 2006, and it _
is further

ORDERED that a detailed privilege log of those documents for Which a privilege is
being asserted is to accompany each production j

SO ORDERED.

RICHARD _. N
United States District lodge

 

